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                            UNITED STATES DISTRICT COURT
                                        for the
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :
                                                   :
                      v.                           :          NO. 1:21-CR-00456-(BAH)
                                                   :
BRIAN STENZ                                        :

                                ENTRY OF APPEARANCE

TO THE CLERK OF SAID COURT:

       Enter my appearance, pro hac vice, on behalf of the Defendant, BRIAN STENZ.

       Papers may be served at the address set forth below.




Date: July 12, 2021                                       /s/ Joseph M. Marrone
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